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  88                        UNITED STATES DISTRICT COURT
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              CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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11     IN RE: TOLL ROADS LITIGATION          Case No: 8:16-cv-00262-ODW(ADSx)
11
       ______________________________
12
12                                           Hon. Otis D. Wright II
       PENNY DAVIDI BORSUK; DAVID
13
13     COULTER; EBRAHIM E. MAHDA;
       TODD QUARLES; TODD                    ORDER GRANTING PRELIMINARY
14
14     CARPENTER; LORI MYERS; DAN            APPROVAL OF CLASS ACTION
       GOLKA; and JAMES WATKINS on
15
15     behalf of themselves and all others   SETTLEMENT
       similarly situated,
16
16                   Plaintiffs,
17
17           vs.
       FOOTHILL/EASTERN                      Date: April 23, 2021
18
18     TRANSPORTATION CORRIDOR               Time: 11:00 a.m.
19     AGENCY; SAN JOAQUIN HILLS             Location: Judicate West
19     TRANSPORTATION CORRIDOR
       AGENCY; ORANGE COUNTY                           55 Park Plaza, Suite 400
20
20     TRANSPORTATION AUTHORITY;                       Irvine, CA 92614
21     3M COMPANY; BRiC-TPS LLC;
21     RHONDA REARDON; MICHAEL
       KRAMAN; CRAIG YOUNG; SCOTT            Special Master: Hon. Andrew J. Guilford (ret.)
22
22     SCHOEFFEL; ROSS CHUN;
23     DARRELL JOHNSON; LORI
23     DONCHAK; COFIROUTE USA, LLC;
24     and DOES 3-10; inclusive,
24
                     Defendants.
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 11                    ORDER GRANTING PRELIMINARY APPROVAL
  22         On April 12, 2021, Plaintiff Dan Golka on behalf of himself and the proposed
 33    Settlement Class (“Plaintiff”) and Defendants Orange County Transportation
  44   Authority, Darrell Johnson and Lori Donchak (collectively “OCTA”), and Defendant
 55    Cofiroute USA, LLC (“Cofiroute”) (OCTA and Cofiroute are collectively referred to
  66   as “Defendants”) entered into a Settlement Agreement and Release (“Agreement”),
 77    after two arm’s-length mediations, both with the assistance of mediator Robert
  88   Kaplan1 The settlement reached by Plaintiff and Defendants will be referred to as the
 99    “Settlement.”
10           Plaintiff now moves this Court, pursuant to Federal Rule of Civil Procedure
10
11     (“Rule”) 23(e), for an order preliminarily approving the Settlement and directing
11
12     notice of the proposed Settlement be given to the Settlement Class upon the terms and
12
13     conditions set forth in the Agreement (“Motion”). The Motion was referred to the
13
14     Special Master, Judge Andrew J. Guilford (ret.) (see ECF No. 582), and a hearing on
14
15     the Motion occurred on April 23, 2021. Special Master Guilford issued a Report and
15
16     Recommendation recommending granting the Motion for Preliminary Approval of
16
17     the Settlement.
17
18           After carefully considering Plaintiff’s Motion for Preliminary Approval and
18
19     accompanying declarations; the Agreement, including the accompanying Exhibits;
19
20     Special Master Guilford’s Report and Recommendation; and the applicable law, the
20
21     Court finds that:
21
22           1.     The proposed Settlement is fair, reasonable, adequate and the Court will
22
23     likely be able to approve it under Rule 23(e)(2) and enter judgment on it. The
23
24     proposed Settlement does not improperly grant preferential treatment to any segment
24
25     of the Settlement Class. The proposed Settlement is sufficient to warrant sending
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        Unless otherwise defined, all terms used herein have the same meanings as set forth in the
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       Agreement.

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 11    notice to the class members about the Settlement in the manner proposed by Plaintiff.
  22   The procedures for establishing and administering the benefits provided by the
 33    proposed Settlement and for notice to class members satisfy Rule 23 and due process.
  44         2.     The Court finds and determines that it will likely be able to certify the
 55    Settlement Class for purposes of judgment on the proposed Settlement under Rule
  66   23(b)(3) of the Federal Rules of Civil Procedure, because the Settlement Class is
 77    similar to the privacy class previously certified by the Court (ECF Nos. 439 and 501)
  88   as to Defendants, and the Court had therefore previously determined that: (a) members
 99    of each subclass of the Settlement Class are so numerous that joinder of all members
10     would be impracticable, (b) there are questions of law and fact that are common within
10
11     each subclass of the Settlement Class, and those common questions of law and fact
11
12     predominate over any questions affecting any individual class member; (c) the claims
12
13     of the Plaintiff are typical of the claims of the Settlement Class; (d) a class action on
13
14     behalf of each subclass of the Settlement Class is superior to other available means of
14
15     adjudicating this dispute; and (e) Plaintiff and Class Counsel are adequate
15
16     representatives of the Settlement Class. Defendants retain all rights to assert that this
16
17     action should not be certified as a class action, other than for settlement purposes.
17
18           3.     The Court has reviewed the class notices for the Settlement Class and
18
19     the methods for providing notice and has determined that these forms and methods of
19
20     notice constitute the best notice practicable under the circumstances; are reasonably
20
21     calculated to apprise Settlement Class members of the terms of the Settlement and of
21
22     their right to participate in it, object, or opt-out; are reasonable and constitute due,
22
23     adequate, and sufficient notice to all persons entitled to receive notice; and meet all
23
24     applicable requirements of Rule 23 and due process.
24
25     ///
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 11    Accordingly, IT IS HEREBY ORDERED that:
  22         1.    The Motion for Preliminary Approval is GRANTED. The Court
 33    preliminarily approves the Settlement.
  44         2.    The Court hereby certifies, for settlement purposes only, a Settlement
 55    Class consisting of the following individuals whose PII was provided by OCTA or
  66   Cofiroute to an entity described below between June 29, 2015, and the Settlement
 77    Class Period End Date (10 days after entry of this Order):
  88      • Any person with a transponder account with a Non-Party Toll Agency whose
 99       PII, including the date, time and location of a toll transaction, was sent by
10        Defendants to a Non-Party Toll Agency for purposes of collecting a toll incurred
10
11        on the 91 Express Lanes (the “Interoperability Subclass”);
11
12        • Any person whose license plate number was sent by Defendants to the
12
13        California Department of Motor Vehicles or out-of-state equivalent, directly or
13
14        through a subcontractor, in connection with more than one alleged toll violation
14
15        incurred on the 91 Express Lanes (the “DMV Subclass”);
15
16        • Any person whose PII was sent to a car rental company by Defendants in
16
17        connection with an alleged toll violation incurred on the 91 Express Lanes (the Car
17
18        Rental Subclass”); and
18
19        • Any person whose PII, other than the amount of tolls and penalties owed, the
19
20        violation number, or the violator’s account number, was sent by Defendants to a
20
21        third-party debt collector for collection of unpaid tolls and/or toll violation
21
22        penalties incurred on the 91 Express Lanes (the “Debt Collection Subclass”).
22
23     The following individuals are excluded from the Settlement Class: Current members
23
24     of the OCTA Board of Directors, OCTA’s Chief Executive Officer, the General
24
25     Manager of the 91 Express Lanes, OCTA’s 91 Express Lanes Project Manager III,
25
26     the attorneys representing OCTA or Cofiroute in this Litigation. and the judge to
26
27     whom this case is or was assigned, any member of the judge’s immediate family, and
27
28     any member of the judge’s staff.
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 11          3.     Class Representative. The Court preliminarily finds and determines,
  22   pursuant to Rule 23(a), that Plaintiff Dan Golka will fairly and adequately represent
 33    the interests of the Settlement Class in enforcing their rights in the action and appoints
  44   him as “Class Representative.” The Court preliminarily finds that he is similarly
 55    situated to absent Settlement Class members and therefore typical of the Settlement
  66   Class, and that he will be an adequate class representative.
 77          4.     Class Counsel. For purposes of the Settlement, the Court appoints Helen
  88   I. Zeldes of Schonbrun Seplow Harris Hoffman & Zeldes, LLP, Blake J. Lindemann
 99    of Lindemann Law, APC and Michael J. Flannery of Cuneo Gilbert & LaDuca, LLP
10     as Class Counsel to act on behalf of the Settlement Class and the Class Representative
10
11     with respect to the Settlement. The Court authorizes Class Counsel to enter into the
11
12     Settlement on behalf of the Class Representative and Settlement Class, and to bind
12
13     them all to the duties and obligations contained therein, subject to final approval by
13
14     the Court of the Settlement.
14
15           5.     Administration. Epiq Class Action & Claims Solutions, Inc is appointed
15
16     as Class Administrator to administer the notice procedure and the processing of claims
16
17     for the Settlement Class, under the supervision of Class Counsel.
17
18           6.     Class Notice. The form and content of the proposed Notice of Class
18
19     Action Settlement (“Long Form Notice”), the Email Notice, Mail Notice, and
19
20     Publication Notice are hereby approved. The Parties and Class Administrator may
20
21     amend the Class Notice documents as necessary to add dates, correct errors, and
21
22     improve the information provided to Settlement Class members consistent with the
22
23     guidance provided by the Special Master.
23
24           7.     Foothill/Eastern Transportation Corridor Agency and San Joaquin Hills
24
25     Transportation Corridor Agency (collectively, “TCA”) are hereby ordered to provide
25
26     to the Class Administrator, in an electronically searchable and readable format, the
26
27     names, email addresses and, if necessary (i.e., if an email address is unavailable or if
27
28     the Class Administrator notifies TCA that an email was returned as undeliverable) the
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 11    last known mailing addresses of TCA FasTrak account holders who used their TCA
  22   FasTrak account to pay for a toll on the Orange County portion of the 91 Express
 33    Lanes between June 29, 2015, and the tenth (10th) day after the entry of this Order.
  44   Defendants are hereby ordered to provide to the Class Administrator, in an
 55    electronically searchable and readable format mutually acceptable to the Class
  66   Administrator and Defendants, the following information, to the extent the
 77    information is reasonably retrievable from Defendants’ reasonably available and
  88   searchable data bases as maintained by Cofiroute: the names and last known mailing
 99    addresses of the members of the Debt Collection Subclass and whether the member is
10     eligible for penalty forgiveness pursuant to Section 12.02. The Court finds that the
10
11     provision of the foregoing information by OCTA, Cofiroute and/or TCA to the Class
11
12     Administrator is necessary so that reasonable notice can be given to the Settlement
12
13     Class, as required by state and federal constitutional provisions and Rule 23, and so
13
14     the Class Administrator can verify membership in the Settlement Class and verify
14
15     claim eligibility, as necessary. The Court further finds and orders that compliance
15
16     with this Order by OCTA, TCA and/or Cofiroute will not and does not violate
16
17     California Streets & Highways Code section 31490 or any other federal, state or local
17
18     constitution, statute, rule, regulation or policy purporting to limit the disclosure of
18
19     personally identifiable information.
19
20           8.     To effectuate this Order and to ensure adequate notice is provided to the
20
21     members of the Settlement Class, and in accordance with both the Court’s general
21
22     authority to protect its jurisdiction and the All Writs Act (28 USC § 1651), the Court
22
23     hereby permanently enjoins each and every member of the Settlement Class from
23
24     filing or pursuing any claim or litigation against any of the persons and/or entities
24
25     listed below in subparagraphs 8(a) through (c) asserting that compliance with the
25
26     obligations imposed by this Order or the Agreement violates California Streets &
26
27     Highways Code section 31490 or any other federal, state or local constitution, statute,
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 11    rule, regulation or policy purporting to limit the disclosure of personally identifiable
  22   information:
 33          a.       OCTA, Cofiroute, and any and all other Released Parties (as defined in
  44                  Section 2.26 of the Agreement);
 55          b.       TCA and BRiC-TPS, LLC (“BRiC”), together with their respective
  66                  officers, agents, employees and attorneys;
 77          c.       Any other person or entity who provides information to the Class
  88                  Administrator pursuant to this Order, together with their respective
 99                   officers, agents, employees and attorneys.
10           9.       The Class Administrator shall send the applicable Class Notice as
10
11     provided by the Agreement via: (i) electronic mail, to the most recent email address
11
12     of all persons in the Interoperability Subclass for whom TCA provides an email
12
13     address; (ii) first class mail, to the most recent mailing address of all persons in the
13
14     Interoperability Subclass for whom TCA had no reasonably available email address
14
15     or whose email notice was returned as undeliverable and for whom TCA provides a
15
16     mailing address, and all persons in the Debt Collection Subclass for whom OCTA or
16
17     Cofiroute provides a mailing address; and (iii) via publication and social media
17
18     advertisements for all other members of the Settlement Class. The Notice will advise
18
19     the Settlement Class members of the opportunity to update their email address and/or
19
20     mailing address with the Class Administrator.
20
21           10.      The Class Administrator shall treat the records of Settlement Class
21
22     members as confidential and shall not disclose all or any portion of those records to
22
23     any person or entity except as authorized by Court order. The Class Administrator
23
24     shall use the records containing Settlement Class member information solely for the
24
25     purposes of providing notice to Settlement Class members, facilitating
25
26     communication with them about the Settlement, administering and processing claims
26
27     and exlcusions including verifying claim forms, and calculating and paying settlement
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 11    awards. No copies of Settlement Class member information may be made, nor
  22   utilized by the Class Administrator for any purpose not specified in this Order.
 33          11.    Settlement Website. By the Settlement Notice Date, the Class
  44   Administrator will maintain and administer a dedicated Settlement Website
 55    containing class information and related documents. At a minimum, such documents
  66   will include the operative Corrected First Amended Consolidated Class Action
 77    Complaint (ECF No. 119-1), the Agreement and attached exhibits, E-mail Notice,
  88   Mail Notice, this Order, the Court’s January 17, 2020 order on Defendants’ Key
 99    Questions Motion (ECF No. 566), all motions or other papers filed regarding final
10     settlement approval, attorney’s fees, costs, and/or service awards for the Class
10
11     Representative, and the Final Approval Order. The Settlement Website will permit
11
12     members of the Settlement Class who elect to do so to register online to receive (a)
12
13     email notice that the Court has granted final approval of the Settlement, (b) updates
13
14     on the deadlines to submit Requests for Exclusion and make Objections, and (c) the
14
15     status of payments under the terms of the Settlement. The Settlement Website will be
15
16     taken down and rendered inaccessible by the Final Distribution Date.
16
17           12.    Claims. All claims must be postmarked or submitted electronically
17
18     within eighty-four (84) days after the Settlement Notice Date (“Claims Deadline”)
18
19     as specified by the Agreement. Any eligible Settlement Class member who does not
19
20     timely and properly submit a claim within the time provided for shall be forever
20
21     barred from sharing in the distribution of the proceeds of the Settlement, unless
21
22     otherwise agreed by the Parties or ordered by the Court, but will in all other respects
22
23     be subject to and bound by the provisions of this Order and upon final approval of the
23
24     Settlement by the provisions of the Agreement, the releases and covenant not to sue
24
25     contained therein, the Judgment, and the Final Approval Order.
25
26           13.    The Class Administrator shall review and process each claim to
26
27     determine whether it qualifies for a Cash Award, and in what amount, in accordance
27
28     with the terms of the Agreement. Claims that do not meet the submission requirements
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 11    may be rejected. Prior to rejecting a claim, in whole or in part, the Class Administrator
  22   shall communicate with the claimant in writing to give the claimant a reasonable
 33    opportunity to remedy any deficiencies in the claim.
  44         14.    Exclusions from the Settlement. Members of the Settlement Class who
 55    wish to exclude themselves from the Settlement Class must advise the Class
  66   Administrator by providing a written Request for Exclusion. The Request for
 77    Exclusion must be postmarked no later than eighty-four (84) days after the
  88   Settlement Notice Date (the “Exclusion Deadline”). In it, the Settlement Class
 99    member must state his or her full name and address and must state that he or she
10     wishes to be excluded from the Settlement. Any member of the Settlement Class who
10
11     submits a valid and timely Request for Exclusion will not be a Final Settlement Class
11
12     member and will not be bound by the terms of the Agreement (but will be bound by
12
13     the injunction in paragraph 8, above). All members of the Settlement Class who do
13
14     not submit a timely, valid Request for Exclusion, however, will be bound by this
14
15     Order, and upon final approval of the Settlement by the Agreement, including the
15
16     releases and covenant not to sue, the Final Approval Order and the Judgment.
16
17           15.    Objections. Any Settlement Class member who intends to object to the
17
18     Settlement (“Objector”) must file a written objection with the Court, located at
18
19     350 W. 1st Street, Los Angeles California, 90012, Courtroom 5D, no later than eighty-
19
20     four (84) days after the Settlement Notice Date (the “Objection Deadline”). In the
20
21     written objection, the Objector must state his or her (1) full name and address; (2)
21
22     account number with OCTA, if one exists; and (3) any other proof of Settlement Class
22
23     membership if such proof exists (“Objection”). The written Objection must also state
23
24     the reasons for the Objector’s objection to the Settlement and indicate whether he or
24
25     she intends to appear at the hearing on the motion for final approval of the Settlement
25
26     (“Final Approval Motion”) before the Special Master on his or her own behalf or
26
27     through counsel. Any documents supporting the Objection must be attached to the
27
28     Objection. The Parties shall have the right to obtain document discovery from and
28
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 11    take the deposition of any Objector relevant to the Objection. Any Objector who
  22   timely files an Objection and indicates an intent to appear may appear at the hearing
 33    before the Special Master on the Final Approval Motion, either in person or through
  44   an attorney hired at the Objector’s own expense, to object to the fairness,
 55    reasonableness, or adequacy of the Settlement.
  66         16.    Declaration of Class Administrator. No later than fourteen (14) calendar
 77    days before the hearing before the Special Master on the Final Approval Motion, the
  88   Class Administrator shall file with the Court and serve on counsel for all Parties a
 99    declaration stating that the Notice required by this Order has been completed.
10           17.    Motion for Final Approval. The Final Approval Motion shall be filed and
10
11     served at least twenty-eight (28) days before the hearing on the Final Approval
11
12     Motion before the Special Master. Any opposition papers in response to any
12
13     Objections shall be filed and served at least fourteen (14) calendar days prior to the
13
14     hearing on the Final Approval Motion before the Special Master.
14
15           18.    Any motions for attorneys’ fees and costs and service awards shall be
15
16     filed at least two weeks before the Objection and Exclusion Deadlines.
16
17           19.    Defendants shall bear no responsibility for any application for attorneys’
17
18     fees and costs and service awards, and such matters will be considered separately from
18
19     the fairness, reasonableness, and adequacy of the Settlement. At or after the hearing
19
20     before the Special Master on the Final Approval Motion, the Special Master shall
20
21     make recommendations to the Court on any application for attorneys’ fees and costs
21
22     to Class Counsel and any service award to the Class Representative.
22
23           20.    All reasonable expenses incurred in accordance with the Agreement and
23
24     this Order in identifying and notifying Settlement Class members, as well as
24
25     administering the Settlement, shall be paid in accordance with the terms set forth in
25
26     the Agreement.
26
27           21.    The Court preliminarily approves Section 15 of the Agreement in which
27
28     OCTA, Cofiroute, and any other Released Parties, and TCA, 3M Company, BRiC,
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 11    any other person or entity who provides information to the Class Administrator
  22   pursuant to this Order, and any of their respective officers, agents, employees and
 33    attorneys are released from any and all claims asserting that compliance with the
  44   obligations of this Order, the Agreement, and/or the Court ordered Notice
 55    requirements violates Section 31490 or any other federal, state or local constitution,
  66   ordinance, statute, rule, regulation or policy purporting to limit the disclosure of the
 77    personally identifiable information which is reasonably necessary to provide notice
  88   to the Settlement Class and to otherwise implement the Settlement.
 99          22.    The Special Master, Hon. Andrew J. Guilford (ret.), shall hold a hearing
10     on the Final Approval Motion and on any motions for award of attorneys’ fees and
10
11     costs and/or service award to the Class Representative on a date(s) selected by the
11
12     Special Master at Judicate West, to determine: (a) whether the Settlement on the terms
12
13     and conditions provided for in the Agreement is fair, reasonable and adequate to class
13
14     members and should be finally approved by the Court; (b) whether a judgment should
14
15     be entered pursuant to the Settlement; (c) whether Class Counsel should be awarded
15
16     attorneys’ fees and costs, and if so, in what amount; and (d) whether a service award
16
17     should be awarded to the Class Representative, and if so, in what amount. The Special
17
18     Master may postpone the hearing on the Final Approval Motion and any motions for
18
19     attorneys’ fees and service awards and will provide notice of any such postponement
19
20     to the Class Administrator who shall post such information to the Settlement Website
20
21     without the need for further or additional notice to the Settlement Class members. The
21
22     Special Master shall produce a Report and Recommendation as to whether the
22
23     Settlement should be approved as fair, reasonable and adequate under Rule 23(e) and
23
24     whether any motions for attorneys’ fees or service awards should be granted and if so
24
25     in what amounts.
25
26           23.    Neither the Agreement or any of its terms or provisions, nor any of the
26
27     negotiations or proceedings connected with the Settlement, whether or not
27
28     consummated, shall be construed as an admission or concession of any kind by any
28
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 11    of the Parties. Neither the Agreement or any of its terms or provisions, nor any of the
  22   negotiations or proceedings connected with the Settlement, may be offered against
 33    any of the Parties in this case or any other action or proceeding as evidence of, or
  44   construed as or deemed to be evidence of, any presumption, concession or admission
 55    by any of the Parties regarding any issue whatsoever including: (i) whether it was
  66   appropriate for class certification; (ii) the validity of any allegation or claim or
 77    element thereof that was, could have been or will be asserted against any of the
  88   Defendants; (iii) liability, negligence, fault, or wrongdoing of any kind; and (iv) the
 99    existence or scope of any damages.
10           24.    The Court retains exclusive and continuing jurisdiction over the Parties
10
11     and the Settlement Class members to consider all further motions and applications
11
12     arising out of, or connected with this Order, the Agreement or related Settlement
12
13     matters. The Court may approve the Settlement with such modifications as may be
13
14     agreed to by the Parties, if appropriate, without further notice to the Settlement Class.
14
15     The Court also retains jurisdiction with respect to the implementation and
15
16     enforcement of this Order, the terms of the Agreement, and all Parties hereto submit
16
17     to the jurisdiction of the Court for purposes of implementing and enforcing the
17
18     Settlement embodied in the Agreement.
18
19           25.    All Settlement Class members shall be bound by all determinations and
19
20     judgments of the Court in this case concerning the Settlement and related matters,
20
21     whether favorable or unfavorable to the Settlement Class.
21
22           26.    All proceedings in this action relating to OCTA and Cofiroute shall be
22
23     stayed until further order of the Court, except for proceedings that may be necessary
23
24     to implement this Order, the Agreement, its Exhibits, or to comply with or effectuate
24
25     the terms and conditions of the Settlement.
25
26           27.    Pending determination of the Final Approval Motion, neither Plaintiff
26
27     nor any Settlement Class member, directly or indirectly, representatively, or in any
27
28     other capacity, shall commence or prosecute against OCTA, Cofiroute or any of the
28
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 11    other Released Parties any action or proceeding in any court or tribunal asserting any
  22   of the Released Claims; provided that this prohibition shall not apply to the following
 33    claims, which were expressly carved out of the Settlement by the Parties:
  44         - The claims expressly asserted in the January 6, 2020 First Amended
 55             Complaint on file in the case entitled Mathew Skogebo et al., vs. Cofiroute
  66            USA, LLC, et al., Orange County Superior Court Case No. 30-2019-
 77             01118474;
  88         - The claims expressly asserted in the January 13, 2020 Second Amended
 99             Complaint on file in the case entitled Harvey J. Thompson, et al., vs.
10              Cofiroute USA, LLC, et al., Orange County Superior Court Case No. 30-
10
11              2019-01108804; and
11
12           - The claims expressly asserted in the January 3, 2020 Corrected First
12
13              Amended Complaint on file in the case entitled Sanket Vinod Thakur, et al.,
13
14              vs. Cofiroute USA, LLC, et al, United States District Court, Central District
14
15              of California, Case No. 8:19-CV-02233 ODW (JDEx).
15
16
16
17           IT IS SO ORDERED.
17
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18
19           May 17, 2021
19
20
20
21                                  ____________________________________
21
                                             OTIS D. WRIGHT, II
22
22                                   UNITED STATES DISTRICT JUDGE
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